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 7
                          UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                           Case No. 1:15-cr-00234 AWI BAM

11                   Plaintiff,                           ORDER FINDING THAT DEFENDANT
                                                          VIOLATED HIS CONDITIONS OF
12           v.                                           PRETRIAL RELEASE AND THAT
                                                          CONDITIONS STILL EXIST WHICH WILL
13    SHANNE LEAVELL,                                     REASONABLE ASSURE THE
                                                          DEFENDANT’S APPEARANCE AND THE
14                   Defendant.                           SAFETY OF THE COMMUNITY

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            On February 2, 2016, the Court held a hearing for Defendant Shanne Leavell on a pretrial
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     release violation involving Condition 7(h) of his Order Setting Conditions of Release dated
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     September 2, 2015.       (ECF 12)     Counsel Kathy Servatuis appeared for the Government.
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     Defendant Leavell was present out of custody with Counsel Roger Wilson. Dan Stark appeared
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     for the Pretrial Services. The Court makes the following findings and conclusions of law,
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            Because of defendant’s admission to his pretrial services officer and the record provided
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     by the pretrial services officer, the Court finds that the defendant has violated his conditions of
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     pretrial release by clear and convincing evidence. 18 U.S.C. § 3148(b)(1)(B).
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            The Court also finds that there are still conditions and combination of conditions which
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     will reasonable assure the defendant’s appearance and the safety of the community and that the
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     defendant will abide by future orders of this Court, and therefore, his detention is not ordered. 18
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     U.S.C. § 3148(b). However, any future violations of his conditions of pretrial release may
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 1 necessitate the Court in finding that the defendant is unlikely to abide by any condition or

 2 combination of conditions of release, and hence, his detention pending trial. 18 U.S.C. §

 3 3148(b).

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     IT IS SO ORDERED.
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 6 Dated:     February 2, 2016
                                                     UNITED STATES MAGISTRATE JUDGE
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